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                                   5
                                       Attorneys for Defendant, Bellagio, LLC
                                   6
                                   7                               UNITED STATES DISTRICT COURT

                                   8                                         DISTRICT OF NEVADA

                                   9
                                  10     ANDI KRAJA, an individual;                          Case No. 2:15-cv-01983-APG-NJK
                                                                                                                    JAD-NJK

                                  11                            Plaintiff,
400 SOUTH 7TH STREET, SUITE 300
  LAS VEGAS, NEVADA 89101




                                  12     vs.
    PISANELLI BICE PLLC




                                                                                          STIPULATION AND ORDER TO
                                  13     BELLAGIO, LLC, a Nevada Corporation;             DISMISS WITH PREJUDICE
                                         VINCENT ROTOLO, an individual; ROE
                                  14     Business Organizations I-X; and DOE
                                         INDIVIDUALS I-X, Inclusive,
                                  15                                                                  ECF No. 266
                                                                Defendants.
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                                  17
                                  18           Plaintiff ANDI KRAJA (hereinafter “Plaintiff”) and Defendant BELLAGIO, LLC

                                  19   (hereinafter “Defendant”), by and through their respective counsel of record, hereby stipulate and

                                  20   …

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                                   1   agree that all claims brought by all parties in the above entitled action shall be dismissed, with

                                   2   prejudice, with each party to bear its own attorneys’ fees and costs.

                                   3    Dated: May 21, 2021.                               Dated: May 21, 2021
                                   4    Respectfully submitted,                            Respectfully submitted,
                                   5
                                        /s/ Victoria L. Neal          /s/ Robert A. Ryan
                                   6    JAMES P. KEMP, ESQ.           TODD L. BICE, ESQ.
                                        VICTORIA L. NEAL, ESQ.        ROBERT A. RYAN, ESQ.
                                   7    KEMP & KEMP, ATTORNEYS AT LAW PISANELLI BICE, PLLC
                                   8
                                        Attorneys for Plaintiff, ANDI KRAJA                Attorneys for Defendant, BELLAGIO, LLC
                                   9
                                  10                                                   ORDER
                                  11           IT  IS SO
                                                Based  on ORDERED        this ____________
                                                          the parties' stipulation  [ECF No. day266]ofand
                                                                                                       May  2021.
                                                                                                          good cause appearing, IT IS
400 SOUTH 7TH STREET, SUITE 300
  LAS VEGAS, NEVADA 89101




                                  12    HEREBY ORDERED that the      THIS claims  against
                                                                             ACTION     ISthe  Travelers Indemnity
                                                                                           DISMISSED                Company
                                                                                                          with prejudice, each are
                                                                                                                               side to bear its
    PISANELLI BICE PLLC




                                        DISMISSED     with  prejudice,  each  side to bear its own  fees and costs.
                                        own fees and costs. The Clerk of Court is directed to CLOSE THIS CASE.      The Clerk  of Court is
                                  13    directed to CLOSE THIS CASE.                     _______________________________________
                                  14                                                     UNITED STATES DISTRICT COURT JUDGE
                                                                                           _________________________________
                                  15                                                       U.S. District Judge Jennifer A. Dorsey
                                                                                           Dated: May 25, 2021
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